           Case 3:22-cv-04476-SI Document 109 Filed 08/14/23 Page 1 of 4




August 14, 2023

VIA CM/ECF

The Honorable Susan Illston
U.S. District Court for the Northern District of California
450 Golden Gate Avenue, Courtroom No. 1 – 17th Floor
San Francisco, CA 94102

Re:     Roblox Corp., et al. v. WowWee Grp. Ltd., et al., Case No. 3:22-cv-04476-SI (N.D. Cal.)

Dear Judge Illston:

Plaintiffs’ August 11 motion1 (Dkt. 108) seeks to add an unwarranted “apex” document
custodian—WowWee USA’s President Peter Yanofsky—based on admitted speculation, while
attempting to support this borderline frivolous request by mischaracterizing the record; citing to
irrelevant authority; engaging in unfounded speculation; and making demonstrably incorrect
statements.2 Simply put, Peter Yanofsky is not a relevant custodian of documents. As Plaintiffs
concede, Defendants have repeatedly informed them that Mr. Yanofsky lacked any meaningful
involvement with My Avastars products. Confirming this, WowWee’s verified interrogatory
responses identifying individuals who had some “involvement[] in the conception, design, and
development of My Avastars Fashion Dolls” notably do not identify Mr. Yanofsky. See Ex. 1,
Defendant WowWee USA, Inc.’s Responses to Plaintiffs’ Interrogatories (Set One).3

Plaintiffs argue that because they cannot confirm Mr. Yanofsky’s lack of involvement, the Court
should order that Mr. Yanofsky be made a document custodian so that Plaintiffs can further “test”
it, but their desire to conduct a fishing expedition is not a valid basis to add an irrelevant apex
custodian. Their position that they must “look elsewhere” to obtain relevant documents is also
highly misleading: Defendants have agreed to produce documents concerning the conception,
design, and development of the My Avastars dolls to the extent that they in any way “reflect or
relate to Plaintiffs’ products at issue that remain in this case”—that is, to the extent they are actually

1
  After completely rewriting a previous version of this letter, adding new arguments and authority
that outdated Defendants’ portion of the letter, Plaintiffs refused to provide Defendants with
sufficient time to substantively respond and filed that new version on August 11. See Dkt. 108 at
3-5. Defendants proposed that the parties meet and confer in order to avoid these procedural
disputes in the future, but Plaintiffs declined.
2
  Plaintiffs’ letter is riddled with flat out false statements, such as their claim that Defendants
“concede” that general, vaguely described topics and types of documents categorically have
“relevance”; or that “Gramps Goods has failed to offer up a single custodian” (two of Gramps
Goods’ three officers are designated document custodians, and Gramps Goods has no employees);
and that “Defendants expect compliance with any [discovery] order to occur … after their own
employees have been deposed.” None of those statements are true.
3
  None of the other Defendants’ interrogatory responses identify Mr. Yanofsky either, and the
parties’ initial disclosures do not identify him as someone likely to have relevant information.
          Case 3:22-cv-04476-SI Document 109 Filed 08/14/23 Page 2 of 4
                                                                 August 14, 2023
                                                                          Page 2



relevant to Plaintiffs’ claims—and have agreed to produce all “communications between
WowWee and GameFam regarding My Avastars Fashion Dolls, Gamefam's development of the
My Avastars:RP Experience for the Roblox platform, and the My Avastars Game[.]” Ex. 2,
WowWee’s Supp. Responses to Pls.’ RFP 2, 34. Both parties are producing documents on a
rolling basis, and Defendants have proposed a substantial completion date of August 25, 2023.4

Plaintiffs’ speculation that Mr. Yanofsky’s familiarity with Defendants’ general business
operations makes him knowledgeable about this particular product’s history is plainly meritless.
Their reliance on a years-old declaration submitted in an unrelated case, seizing on Mr. Yanofsky’s
general prefatory statement that he was “intimately familiar with … [the] business operations” of
the WowWee entities, is unpersuasive: an executive’s familiarity with his company’s general
“business operations” obviously does not entail familiarity with every product the company
manufactures—let alone details of how the product was conceived and developed.5 See Lauris v.
Novartis AG, 2016 WL 7178602, at *4 (E.D. Cal. Dec. 8, 2016) (declining to add “apex
custodians” based on “mere speculation”). Plaintiffs’ citations to irrelevant internet articles merely
demonstrate that Mr. Yanofsky is, in fact, an apex custodian—but not that he is a relevant one.

Finally, Plaintiffs’ non sequitur argument that because WowWee’s personnel are “not really big
on titles,” “everyone involved in running” any of the Defendant companies “has a hand in the
matters at issue in this case” lacks any merit. Moreover, Defendants have designated numerous
custodians who are equally “involved in running” the Defendant companies, and unlike Mr.
Yanofsky have knowledge of relevant facts. Defendants’ custodians includes at least one officer,
director, and/or highly placed employee of each Defendant,6 including WowWee USA’s Vice
President of Brand Development & Creative Strategy, who conceived and helped design and
develop My Avastars Fashion Dolls, as well as its Lead Modeler / Digital Sculptor, former Chief
Design Officer, and Senior Designer, all of whom were similarly involved. Other custodians
include a co-owner of the WowWee entities; WowWee’s CEO, its CFO, and its Head of Product
Development; WowWee Canada’s VP of Sales, and its Head of Marketing and Operations. See
Lauris, 2016 WL 7178602, at *4 (denying request to add apex custodians in light of “the factors
identified in Rule 26(b)(1),” since relevant information “would be expected to be communicated
though” existing custodians “[d]ue to their position within the organization[.]”). Plaintiffs’ citation
to Ray v. BlueHippo Funding is inapposite here because in that case, a noticed deponent (not a
proposed document custodian) was shown to “have substantial personal knowledge of relevant
facts,” plaintiffs had “made some showing why information might be obtained from [him] which
is beyond or different from” what could be obtained from others, and the plaintiffs were seeking
to add him as a defendant in his personal capacity. 2008 WL 4830747, at *2 (N.D. Cal. Nov. 6,

4
  Plaintiffs’ claim that they have produced more documents than Defendants as of August 11 is
misleading, as Plaintiffs’ productions are larger in volume only because they are riddled with
duplicates, irrelevant documents, and countless versions of the same email chains. And Laryngal
Mask, which Plaintiffs inexplicably cite here to support their previous motion, has no relevance.
5
  Plaintiffs’ false statement that WowWee USA “admitted” that its “business operations… include
the conception, design, creation, manufacturing, and sale of the products at issue” does not
withstand even cursory scrutiny. See Dkt. 108 at 2 (Plaintiffs’ emphasis); Ex. 1.
6
  Gramps Goods has no employees, but two of its three executives are designated custodians.
          Case 3:22-cv-04476-SI Document 109 Filed 08/14/23 Page 3 of 4
                                                                 August 14, 2023
                                                                          Page 3



2008). In stark contrast, Peter Yanofsky has no knowledge of relevant facts, and any relevant
information that might be obtained from him “would be expected to be communicated though”
already identified custodians. Lauris, 2016 WL 7178602, at *4. Plaintiffs provide no evidence, or
even plausible conjecture, to suggest that Peter Yanofsky is a proper custodian in this case. See
Handloser v. HCL Am., Inc., 2020 WL 7405686, at *2 (N.D. Cal. Dec. 17, 2020) (denying request
to add custodians where “plaintiffs provide[d] essentially no explanation for why additional ESI
discovery is warranted…” and the Court “[could] []not discern why plaintiffs expect to discover
information from these custodians that differs from discovery they have already obtained from the
others, including the … heads of the relevant departments.”) Plaintiffs’ motion lacks merit and
should be denied.



Respectfully submitted,

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         Case 3:22-cv-04476-SI Document 109 Filed 08/14/23 Page 4 of 4
                                                                August 14, 2023
                                                                         Page 4



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